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                        IN THE UNITED STATES DISTRICT COURT                       2911J(JN-2      PH 3:11
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                    §
        PLAINTIFF,                                §
        AND COUNTER DEFENDANT,                    §
                                                  §
V.                                                §   CIVIL NO. A-17-CV-00215-LY
                                                  §
COBB MECHANICAL                                   §
CONTRACTORS, INC., AND                            §
LIBERTY MUTUAL                                    §
INSURANCE COMPANY,                                §
         DEFENDANTS,                              §
                                                  §
LIBERTY MUTUAL                                    §
INSURANCE COMPANY,                                §
         COUNTER PLAINTIFF.                       §



                         ORDER DENYING MOTION TO DISMISS

         Before the court in the above styled and numbered diversity action is Plaintiff Hunt

Construction Group, Inc.'s ("Hunt") Motion to Dismiss Count II of Defendant Liberty Mutual

Insurance Company's Counterclaim filed April 19, 2017 (Clerk's Document No. 18), Defendant

Liberty Mutual Insurance Company's ("Liberty") Response in Opposition to Plaintiff's Motion

to Dismiss Count II of Defendant Liberty Mutual Insurance Company's Counterclaim filed May

3, 2017 (Clerk's Document No. 26), and Hunt's Reply in Support   of its Motion to Dismiss Count

II   of Defendant Liberty Mutual Insurance Company's Counterclaim filed May   10, 2017 (Clerk's

Document No. 28). Having considered the motion, response, reply, the case file, and the

applicable law, the court will deny the motion.

Background

         This action is related to ongoing construction of the Fairmont Hotel in Austin, Texas.

Once completed, the Fainnont will consist of an underground garage, a seven-story "podium,"
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which will contain lobbies, meeting rooms, restaurants, and other amenity spaces, topped by a

31 -story   tower, which will contain guest rooms.

        Hunt, an Indiana company and general contractor for large building projects, executed a

contract with the owner of the Fairmont to construct the hotel ("Prime Contract"). On July 20,

2015, Hunt subcontracted with Cobb Mechanical Contractors, Inc. ("Cobb"), a Colorado

company, for Cobb to install mechanical systems in both the podium and the tower of the

Fairmont for a cost of $30,938,190 ("Subcontract"). Cobb is in the business of designing and

installing plumbing, piping, and heating-ventilating-air-conditioning systems. Pursuant to the

Subcontract, Cobb obtained a performance bond from Liberty ("Performance Bond"), for Hunt's

benefit in the amount of $30,938,190.'         The Performance Bond was to guaranty Cobb's

performance of its obligations under the Subcontract and to compensate Hunt for its costs and

expenses should Cobb fail to meet its obligations under the Subcontract.

        Hunt alleges that in June 2016, it became concerned that Cobb was falling behind on the

construction schedule, and in July 2016, sent Cobb formal notice that Cobb needed to take steps

to get within schedule. When things failed to improve, on November 18, 2016, Hunt served

Cobb with a Notice of Default of Subcontract Obligations and Notice of Termination

("Termination Notice").       By the Termination Notice Hunt informed Cobb that Hunt was

exercising its right under the Subcontract and terminating the portion of Cobb's work related to

the podium of the Fairmont. The Termination Notice directed Cobb to stop working on the

podium within three days but to continue working on the tower. Hunt replaced Cobb with




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    Liberty Mutual issued its Subcontract Performance Bond No. 906001924 to Cobb for Hunt's
benefit ("Performance Bond"). The Performance Bond identifies the Subcontract and states that
the Subcontract "is by reference made a part hereof"

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another subcontractor to correct Cobb's work and perform the remainder of the mechanical work

on the podium.

       On December 7, 2016, Cobb served Hunt with a Notice of Claim, seeking in excess of

$8,000,000 from Hunt, alleging that Hunt wrongfully terminated Cobb's work on the podium of

the Fairmont. On December 30, Hunt denied Cobb's claim.

       On March 7, 2017, Hunt filed this action against Cobb and Liberty, seeking not less than

$27 million in damages resulting from Cobb's delays and defective work on the Fairmont.

Specifically Hunt alleges Liberty breached the terms of the Performance Bond and Hunt is

therefore entitled to damages. Liberty answered, filed a breach-of-contract counterclaim against

Hunt, and seeks a declaration from the court that the Performance Bond is null and void or that

Liberty's obligations under the Bond are discharged to the extent of the breaches by Hunt and the

resulting damages.

       Hunt now moves to dismiss "Count II" of Liberty's counterclaim ("Count II")

complaining that Count II raises only redundant issues for which no relief can be granted.

       Count II hi relevant part alleges:

                 In order to resolve this controversy, the Surety requests that, pursuant
                 to 28 U.S.C. § 2201 and § 2202, this court declares the respective
                 rights and duties of the parties in this matter, including, in particular,
                 that the court declare that:

                        a.   The Bond is null & void, and the surety is discharged of
                             any duty on the Bond, because of the material breaches
                             by Hunt;

                        b. Alternatively, the Surety's obligations under the Bond
                             are discharged to the extent of the breaches by Hunt and
                             the resulting damages;

                        c.   Hunt failed to give adequate notice and an adequate
                             opportunity to cure the alleged issues;



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                        d.   Hunt's improper unilateral completion with Brandt does
                             not constitute "reasonable costs," as required by the
                             terms of the performance bond.

                        e.   The Surety is exonerated from any obligations under
                             the Bond because of Hunt's material alterations of the
                             bonded contract.

Analysis

       When evaluating a motion to dismiss for failure to state a claim under Rule 1 2(b)(6), the

complaint must be liberally construed in favor of the plaintiff and all facts pleaded therein must

be taken as true. Leatherman       v.   Tarrant County Narcotics Intelligence & Coordination Unit,

507 U.S. 163, 164 (1993); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).                        The court

considers the complaint in its entirety, together with "documents incorporated into the complaint

by reference, and matters of which a court may take judicial notice." Funk v. Stryker Corp., 631

F.3d 777, 783 (5th Cir. 2011) (quoting Tellabs Inc.      v.   Makor Issues & Rights, Ltd., 551 U.S. 308,

322 (2007.)

        Federal Rule of Civil Procedure       8   mandates only that a pleading contain a "short and

plain statement of the claim showing that the pleader is entitled to relief," but this standard

demands more than "a formulaic recitation of the elements of a cause of action," or "naked

assertion[s]" devoid of "further factual enhancement." Bell All.        v.   Twombly, 550 U.S. 544, 555-

57 (2007). Rather, a pleading seeking relief must contain sufficient factual matter, so that when

accepted as true, it "state[s] a claim to relief that is plausible on its face." Id. at 570.

        This plausibility standard is not a "probability requirement," but does impose a standard

higher than "a sheer possibility that a defendant has acted unlawfully." Ashcroft              v.   Iqbal, 556

U.S. 662, 678 (2009). Although "a court must accept as true all "[t]hreadbare recitals                  of the

elements of a cause of action, supported by mere conclusory statements, do not suffice." Id.



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"Determining whether a complaint states a plausible claim for relief will         .   .   .   be a context-

specific task that requires the reviewing court to draw on its judicial experience and common

sense." Id. at 679. Thus, in considering a motion to dismiss, the court must initially identify

pleadings that are no more than legal conclusions not entitled to the assumption of truth, then

assume the veracity of well-pleaded factual allegations and determine whether those allegations

plausibly give rise to an entitlement to relief. If not, "the complaint has allegedbut has not

'show{n]''that the pleader is entitled to relief" Id. (quoting Fed. R. Civ. P. 8(a)(2)).

       Declaratory relief

        "The Declaratory Judgment Act has been understood to confer on federal courts unique

and substantial discretion in deciding whether to declare the rights   of litigants."     Wilton      v.   Seven

Falls Co., 515 U.S. 277, 286 (1995).          "It gave the federal courts competence to make a

declaration of rights; it did not impose a duty to do so." Public Affairs Assocs., Inc.         v.   Rickover,

369 U.S. 111, 112 (1962). "However, though the district court's discretion is broad, it is not

unfettered." Travelers Ins. Co. v Louisiana Farm Bureau Federation, Inc., 996 F.2d 774, 778

(5th Cir. 1993). "Courts in the Fifth Circuit have regularly rejected declaratory judgment claims

that seek resolution of matters that will already be resolved as part of the claims in the lawsuit."

Burlington Ins. Co.   v.   Ranger Specialized Glass, Inc., No. 4:12-CV-1759, 2012 WL 6569774, *2

(S.D. Tex. Dec. 17, 2012).

       Hunt argues Count II is redundant, and should be dismissed because it addresses issues

raised by Hunt's direct claims against Liberty and is within the purview of Liberty's affirmative

defenses. Hunt contends it is entitled to dismissal because the issues raised in Count II will be

resolved as part of its allegations. See e.g. Flanagan   v.   Chesapeake Expi., LLC, No 3:15-CV-

0222-B, 2015 WL 6736648, at *4 (N.D. Tex. Nov. 4, 2015).
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       Liberty responds that Count II addresses the portion of the Performance Bond addressed

by Hunt's claims as well as any possible future controversy in regard to the continuing tower

portion of the Performance Bond. Liberty argues that Hunt's original complaint improperly

divides the Performance Bond in two, whereas Count II encompasses the entirety of the contract.

Liberty contends the court should exercise its discretion and allow its request for declaratory

relief to proceed based on the non-redundant future issues raised. See e.g. 5436, LLC      v.   CBS

Corporation, No. CIV.A. H-08-3097, 2009 WL 3378379, at *17 (S.D. Tex. Oct. 16, 2009);

Trammel Crow Residential Co.   v.   Virginia Sur. Co., 643 F. Supp 2d 844, 856 (N.D. Tex. 2008).

       At this juncture in the proceedings, and construing the counterclaim in a light most

favorable to Liberty, the court disagrees that Count II mirrors the affirmative defenses Liberty

alleged in response to Hunt's original claims. The issues raised in Hunt's original claims, and

Liberty's affirmative defenses, address only the portion of the Performance Bond concerning the

podium. The issues raised in Count II address the Performance Bond in its entirety. Litigation

of the issues raised by Hunt will not resolve the issues raised by Count II regarding the

continuing contract and the future relationship among the parties under the contract.

Conclusion

       The court will exercise its discretion and allow Liberty's request for declaratory relief to

proceed.




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      IT IS ORDERED that Plaintiff Hunt Construction Group, Inc.'s Motion to Dismiss

Count II of Defendant Liberty Mutual Insurance Company's Counterclaim filed April 19, 2017

(Clerk's Document No. 18) is DENIED.

      SIGNED this   j$/'day of June, 2017.


                                         UNI EDSTA
